                       UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA
                              NORTHERN DIVISION

In the Matter of:                                 }
                                                  }
MARCUS G. LANG                                    }   CASE NO. 14-83412-JAC-13
SSN: XXX-XX-2235                                  }
                                                  }   CHAPTER 13
                       Debtor(s).                 }
                                                  }
MARCUS G. LANG                                    }   AP NO. 15-80008-JAC-7
                                                  }
                       Plaintiff(s),              }
       v.                                         }
                                                  }
PROSPER MARKETPLACE, INC.                         }
                                                  }
                       Defendant(s).              }


                                    RULE TO SHOW CAUSE

       The Court has determined that the plaintiff should be made to appear and show cause why
the above styled complaint should not be dismissed for failure to state a claim to relief that is
plausible on the face of the complaint as required by Bell Atl. Corp. v. Twombly, 550 U.S. 545
(2007). The debtor listed the defendant as an unsecured creditor in the debtor’s current case, and
in response the defendant filed a proof of claim in the current case.

        Therefore, and for good cause found, it is hereby ORDERED that the debtor shall appear
before the Court on February 9, 2015 at 9:01 o’clock a.m., at the Federal Building, Cain Street
Entrance, 3rd Floor Courtroom, Decatur, Al, 35601 and show cause why the above styled adversary
proceeding case should not be dismissed.

Done and Entered this day January 28, 2015


                                                      /s/ Jack Caddell
                                                      Jack Caddell
                                                      U.S. Bankruptcy Judge




Case 15-80008-JAC         Doc 3        Filed 01/28/15 Entered 01/28/15 15:59:44       Desc Main
                                       Document      Page 1 of 1
